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November 15, 2021

VIA ELECTRONIC MAIL (NJDNEF_WOLFSON@NJD.USCOURTS.GOV)

The Honorable Freda L. Wolfson
United States District Court
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street, Room 2020
Trenton, New Jersey 08608

Re:       Diane Vaccaro v. Amazon.com.dedc, LLC, Case No. 3:18-cv-11852-FLW-TJB

Dear Judge Wolfson:

We represent Defendant in this matter and write on behalf of all parties (with Plaintiffs’ counsel’s consent)
to request an extended briefing schedule as to both Defendant’s Motion for Summary Judgment (Dkt. No.
67) and Plaintiff Chiu’s Motion for Class Certification (Dkt. No. 69). The parties have conferred and, in
order to afford both sides sufficient time to prepare opposition and reply papers (particularly given the
upcoming holiday periods), respectfully and jointly propose the following schedule as to both motions:
         Deadline for opposition papers reset to December 20, 2021;
         Deadline for reply papers reset to January 11, 2022; and
         Both motions’ motion days be adjourned to January 18, 2022.
This is the parties’ first request for adjournment as to either of these motions. If the request is acceptable
to Your Honor, a So Ordered line is set forth below. We thank the Court for its consideration of this request.

Respectfully submitted,

/s/ Joseph A. Nuccio
Joseph A. Nuccio
cc:     All counsel of record (via electronic mail)

                                                       15th day of November, 2021.
                                      SO ORDERED this _____

                                        /s/ Freda L. Wolfson
                                      Hon. Freda L. Wolfson
                                      Chief Judge




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                                                        A Pennsylvania Limited Liability Partnership | Steven M. Cohen, Partner-in-Charge
